        Case 4:12-cr-00185-DPM Document 74 Filed 04/25/13 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION


UNITED STATES OF AMERICA                                        PLAINTIFF

v.                         No. 4:12-cr-185-DPM-2

JOSEPH W. THOMPSON,
afk/a Nephew                                                 DEFENDANT


                                 ORDER

     The United States' unopposed motion to dismiss the indictment, NQ 73,

is granted. The indictment, NQ 3, is dismissed without prejudice.

     So Ordered.


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                                        D.P. Marshall Jr.
                                        United States District Judge




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